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Toullier defines nudum pactum to be an agreement not executed by one of the parties.
2 Kent, Com. 364 - 2006 Lonang Institute
It is a rule that no action can be maintained on a naked contract; ex nudo pacto non oritur act
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